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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________________

BELL ATLANTIC MOBILE SYSTEMS LLC
d/b/a VERIZON WIRELESS                                             COMPLAINT FOR
                                                                   DECLARATORY AND
                                                                   INJUNCTIVE RELIEF
                                                                   AND EXPEDITED
                                                                   REVIEW PURSUANT TO
                                                                   47 U.S.C. § 332(c)(7)(B)(v)
                             Plaintiffs,
                                                                   Civil Action No.:

       vs.                                                          1:21−cv−00774 (TJM/ATB)

CITY OF HUDSON, NEW YORK, THE
PLANNING BOARD OF THE CITY OF HUDSON,
NEW YORK, THE CODE ENFORCEMENT
DEPARTMENT OF THE CITY OF HUDSON; CRAIG
HAIGH, In his Official Capacity as Code Enforcement
Officer for THE CITY OF HUDSON, NEW YORK

                             Defendants,

       and

PROVIDENCE HALL ASSOCIATES, L.P.

                             Additional Defendant.

________________________________________________

                               PRELIMINARY STATEMENT

       Plaintiff BELL ATLANTIC MOBILE SYSTEMS LLC d/b/a VERIZON WIRELESS

(“Verizon Wireless” or “Plaintiff”), by and through its undersigned attorneys, alleges as follows

as and for Verizon Wireless’ Complaint and Request for Expedited Review under 47 USC §

332(c)(7)(B)(v), relative to Defendant City of Hudson, New York’s (“City”) unlawful failure and

refusal to act on the application by Plaintiff, a federally-licensed wireless telecommunications

service provider, for permission to construct and operate a collocated personal wireless service


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facility on an existing building located in the City of Hudson, and for declaratory and related

injunctive relief ordering the immediate issuance of all building permits and/or other approvals

necessary for the placement and construction of the Verizon Wireless’ proposed personal wireless

service facility.

                                       I. INTRODUCTION

        1.      The Nation’s wireless infrastructure is a critical communications pathway that is

extensively employed and heavily relied on by the public, — including residents and businesses,

the traveling public, emergency service providers, hospitals and health care professionals, law

enforcement personnel, government officials, and the 911 North American emergency system.

Congress and the Federal Communications Commission (“FCC”) have emphasized the importance

of a seamless nationwide wireless network, and the need to allow wireless carriers to fill gaps in

their coverage without undue delay caused by municipal planning and zoning boards. This case

involves Plaintiff’s attempt to close just such a coverage gap and to resolve system capacity issues

with the Verizon Wireless network in and around the City of Hudson, and the City’s attempts to

thwart that effort.

        2.      The critical importance of wireless communications systems is recognized,

encouraged, and implemented by, among other laws, rules and regulations, the Federal

Communications Act of 1934, as amended by the Telecommunications Act of 1996, now codified

in 47 U.S.C §151 et seq. (hereinafter, the “Act” or the “TCA”), and in Federal Communications

Commission (“FCC”) orders, rules, and regulations, including, without limitation, the FCC Order

issued in the proceeding titled In re Petition for Declaratory Ruling to Clarify Provisions of Section

332(c)(7)(B), 24 F.C.C.R. 13994 (2009) (the “2009 FCC Order”) and in Matter of Acceleration of

Broadband Deployment by Improving Wireless Facilities Siting Policies, 29 F.C.C.R. 12865



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(2014) (the “2014 FCC Order”), and in Matter of Accelerating Wireless Broadband by Removing

Barriers to Infrastructure Investment, 34 F.C.C.R. 2282 (2018) (the “2018 FCC Order”). Overall,

these laws, rules, and regulations establish a “pro-competitive, de-regulatory national policy

framework designed to         accelerate rapidly      private sector deployment         of advanced

telecommunications and information technologies and services to all Americans….” See Act, S.

Rep. 104-230, at 1 (Feb. 1, 1996) (Conf. Report).

        3.     The Executive Branch also recognizes wireless infrastructure as “an essential

element of a resilient and secure nation.” Presidential Proclamation No. 8460, 74 Fed. Reg. 234 (Dec.

8, 2009).

        4.     To foster a pro-competitive, deregulatory national wireless policy, Congress

included provisions in the Act that expressly limit and preempt local zoning authority to the extent

it unreasonably delays or prohibits wireless carriers such as Plaintiff to quickly fill “gaps” in their

wireless service coverage and address system capacity issues. Section 332(c)(7) of the Act thus

attempts to strike a balance between “preserv[ing] the traditional authority of state and local

governments to regulate the location, construction, and modification of wireless communications

facilities like cell phone towers” (T-Mobile S., LLC v. Township of Roswell, 574 U.S. 293, 300 (2015))

and “reduc[ing] . . . the impediments imposed by local governments upon the installation of

facilities for wireless communications.” Township of Rancho Palos Verdes v. Abrams, 544 U.S.

113, 115 (2005).

        5.     Recognizing that “personal wireless service providers have often faced lengthy and

unreasonable delays in the consideration of their facility siting applications, and that the

persistence of such delays is impeding the deployment of advanced and emergency services,” and

to facilitate timely and smooth implementation of these essential services, the FCC, pursuant to its

authority under the TCA, established a presumptive 90 day period in which municipal and/or other

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governmental approving entities or agencies must process and act upon wireless

telecommunications applications involving collocations on existing towers or structures (the “Shot

Clock Period”). See 2009 FCC Order at ¶ 32.

       6.      In this case, the City of Hudson, New York (“City” or “Hudson”), its boards,

officers, agencies, and departments have repeatedly and unreasonably refused and delayed to act

upon Plaintiff’s application to construct and operate a wireless telecommunications facility in the

City of Hudson within the Shot Clock Period, thereby effectively prohibiting Verizon Wireless

from providing service where a gap in service and capacity deficiencies indisputably exist. The

City has done so in knowing disregard for, and in violation of, the Act and other provisions of

federal, state and local laws rules and regulations.

       7.      The City Planning Board’s failure to act on the Application within the Shot Clock

Period in this case is in clear violation of the TCA and FCC Orders. Because Verizon Wireless has

met, indeed, often exceeded, all applicable requirements for zoning approval under applicable

Federal, State and Local law, as demonstrated on the record before Defendants, an injunction

should issue ordering the Defendants to forthwith approve all necessary authorizations required to

construct the Facility, including but not limited to, the Application as originally filed with

Defendant Planning Board, and further ordering the City Code Enforcement Officer to issue a

building permit for the Facility forthwith.

       8.      Defendants’ failure and refusal to act on the Application before expiration of the

Shot Clock Period violates the TCA because it constitutes an effective prohibition on wireless

service thereunder in that it denies Verizon Wireless’s ability to close a significant gap in coverage

and cure capacity deficiencies in the local wireless network using the least intrusive means

possible, i.e., collocation on an existing building, exactly as the City Code requires. The City’s



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effective prohibition on wireless service thus constitutes a separate and independent violation of

federal law warranting injunctive relief. See 47 U.S.C. § 332(c)(7)(B)(i)(II).

       9.      When Defendant Planning Board finally acted on the Application on June 23, 2021,

after expiration of the Shot Clock Period, it imposed unreasonable, unenforceable and arbitrary

and capricious conditions, which are not supported by substantial evidence, that effectively

prohibit construction of the Facility and thus deny Verizon Wireless’ service to any area

demonstrated to be in need of such service. For example, Defendant Planning Board’s condition

which attempts to require the owner of the Property to execute a “deed restriction” against the

underlying property prohibiting future development of personal wireless service facilities was

imposed to address perceived health impacts alleged by certain members of the general public and

is, therefore, an express violation of section 332(c)(7)(B)(iv) of the TCA. Defendant Planning

Board’s condition purporting to limit the frequencies which Verizon Wireless can operate is a clear

usurpation of the FCC’s exclusive jurisdiction to regulate personal wireless service facilities and

the radio frequencies associated therewith and is a violation of the Supremacy Clause of the United

States Constitution.

       10.     Defendant Planning Board’s deed restriction condition represents an unlawful

taking of property without just compensation under the Fifth Amendment of the United States

Constitution. The unlawful deed restriction condition serves to unreasonably deprive the owner of

the Property certain rights to use the Property in a manner consistent with the current zoning law.

       11.     The escrow required to be paid to Defendant Planning Board pursuant to §284-16

of the City Code was excessive and not reasonably related to any impact, cost, or other legitimate

expense the City may have incurred in connection with the Application. Had the Planning Board

reasonably applied the local wireless communications regulations set forth in Chapter 284 of the



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City Code, there would not have been a need to conduct a lengthy (and unauthorized) public

hearing and the escrow amount demanded by Defendant Planning Board would have been

significantly less.

        12.     The injury caused by Defendants’ unlawful failure and refusal to act within the Shot

Clock Period is both continuing and irreparable. The harm to Verizon Wireless and its customers,

including the potential loss of goodwill caused by deficient wireless coverage in the City, can

neither be quantified nor remedied by monetary damages.            Defendants lack any legitimate

governmental interest to burden the Application with unreasonable and unachievable conditions

under the guise of approval. The underlying public interest here, expressed in the policies

embodied in Section 332 of the TCA and the FCC Orders, is intended to deny local governments

the power to unreasonably delay or block essential wireless telecommunications facilities,

particularly through calculated inaction and/or unreasonable conditioning, as the City has done

here.

        13.     The harm caused by Defendants’ failure to act within the Shot Clock Period is not

cured by Defendant Planning Board’s adoption of its Resolution on June 23, 2021, subsequent to

the expiration of the Shot Clock Period. That decision is not only fatally late, but it contains

unreasonable and unlawful conditions, the predictable and intended result of which is to effectively

prohibit the Facility in violation of section 332(c)(7)(B)(i)(II) of the TCA.

        14.     Even if Defendant Planning Board’s Resolution was to be given effect, said

Resolution contains conditions that: (i) have no reasonable nexus to the proposed Special Use

Permit; (ii) violate the existing City of Hudson Code; (iii) exceed the Defendant Planning Board’s

lawful jurisdiction; and (iv) are improperly based on perceived health impacts – which is an

express violation of the TCA, all of which resulted in an effective denial of the Application.



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        15.         The City’s continued failure to issue “all necessary authorizations” required to

permit the deployment of Verizon Wireless’ proposed Facility, including a building permit,

represents a continuing violation of the Shot Clock Period according to paragraph 128 of the 2018

FCC Order.

        16.         Under Section 332(c)(7)(B) of the Act, Verizon Wireless is entitled to injunctive

and declaratory relief under the Act permitting it to install and operate the Personal Wireless

Service Facility described in the Application.

                                  II. JURISDICTION AND VENUE

        17.         This Court has subject-matter jurisdiction over this action under 28 U.S.C. §1331

because it arises under and is brought pursuant to the Federal Communications Act of 1934, as

amended by the Telecommunications Act of 1996 (the “TCA”), including 47 U.S.C.

§332(c)(7)(B). This Court also has jurisdiction over this action under 28 U.S.C. §1337(a), because

the Federal Communications Act and the TCA are acts of Congress regulating commerce.

        18.         Pursuant to 28 U.S.C. §1367, this Court may exercise supplemental jurisdiction

over Plaintiff’s claims under New York State law.

        19.         This Court has jurisdiction to order declaratory and injunctive relief under 28

U.S.C. §§2201 and 2202. There is a live and justiciable controversy between the parties that

includes whether Defendants have unreasonably failed and refused to act on Verizon Wireless’s

Application.

        20.         Venue is proper in this district under 28 U.S.C. §1391(b)(2). The Defendants are

located in the Northern District of New York, a substantial part of the events or omissions giving

rise to the claim occurred in this District, and the property that is the subject of this action is situated

in this District.



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                              III. EXPEDITED PROCEEDING

       21.     Pursuant to 47 U.S.C. §332(c)(7)(B)(v) of the TCA, Verizon Wireless respectfully

request expedited treatment of this Complaint.


                                         IV. PARTIES

       22.     Plaintiff Bell Atlantic Mobile Systems LLC d/b/a Verizon Wireless, is a Delaware

limited liability company with a place of business located at 1275 John Street, Suite 100, West

Henrietta, New York 14586.

       23.     Plaintiff is licensed by the FCC to provide wireless services throughout New York

State, including commercial mobile services and personal wireless services (as those terms are

defined under federal law) in and around the City of Hudson, New York.

       24.     Defendant City of Hudson is, upon information and belief, a municipal corporation

of the State of New York, with its principal offices located at 520 Warren Street, City of Hudson,

Columbia County, New York 12534.

       25.     Defendant Planning Board of the City of Hudson (“Planning Board”) is the

administrative board and agency of the City which has been delegated authority and jurisdiction

to issue special use permits and site plan approval under the City Code and is the City agency

which reviewed the Application.

       26.     Defendant City of Hudson Code Enforcement Department (“Code Enforcement

Department”) is the administrative department of the City of Hudson which has been delegated

authority and jurisdiction to issue building permits under Article VII, Chapter 325 of the City

Code. Defendant Craig Haigh, sued in his Official Capacity, is the City Code Enforcement Officer

for the City of Hudson.




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       27.     Providence Hall Associates, L.P., upon information and belief, is the fee title owner

of the property located at 119 Columbia Street, City of Hudson, Columbia County, State of New

York. Verizon Wireless does not seek any relief against Providence Hall Associates, L.P.

                            V. REGULATORY BACKGROUND

                                      A. The Wireless Industry

       28.     The wireless industry continues to experience substantial growth nationally, and

within the State of New York. National data indicates that as of 2020, there were approximately

442.5 million subscriber connections active in the United States.

       29.     Data from the Centers for Disease Control and Prevention indicates that as of June

2018 (a) approximately fifty-five percent (55%) of all adults and children live in households that

have replaced landline service with only wireless service, and (b) forty-two percent (42%) of

American homes receive all or almost all calls on wireless devices despite also having landline

service. This trend, sometimes referred to as “cutting the cord,” is increasing and, as a result,

wireless networks must now handle communications from multiple wireless devices owned by

multiple members of a household (that previously were addressed by a single household

connection to the landline system).

       30.     The FCC reports that the number of 911 calls from mobile phones has significantly

increased in recent years with an estimated eighty percent (80%) of all 911 calls now being made

from mobile devices. That percentage is continuing to grow.

       31.     Viewed from the standpoint of public safety, advances in wireless technology have

spurred federal government plans to upgrade the nationwide 911 emergency call system to enable

the acceptance of all manner of wireless communication over wireless networks, including text

messages, photos and video. The FCC is also engaged in efforts to make modern wireless and



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broadband devices accessible for emergency and non-emergency use to persons with disabilities.

For these new services to function properly, adequate wireless network capacity and bandwidth

are critical, but in some areas do not currently exist.

       32.     In this context, wireless telecommunications of all forms are vital to the public

welfare, safety and convenience and are not a mere luxury or entertainment item.

                  B. Federal Preemption of Local Roadblocks to Competition

       33.     By enacting the TCA, Congress created a new telecommunications regulatory

regime intended to foster competition in local telephone markets. An explicit goal of the TCA is

thus to promote competition and reduce regulation of wireless service providers for the purpose of

securing lower prices and higher quality services for consumers and encouraging the rapid

deployment of new telecommunications technologies.

       34.     To ensure that local governments could not thwart the TCA's pro-competitive

national policy, Congress included provisions that encourage build-out of networks and

competition among wireless providers by placing certain restrictions on the regulation and

placement of personal wireless service facilities by state and local zoning and/or other authorities.

       35.     One of the key purposes of the TCA’s restrictions on the regulation of personal

wireless service facilities is “to stop local authorities from keeping wireless providers tied up in

the hearing process through invocation of state procedures, moratoria, or gimmicks.” See

Masterpage Comms., Inc. v. Town of Olive, 418 F.Supp.2d 66, 77-80 (N.D.N.Y. 2005).

                                    C. Relevant TCA Provisions

       36.     Section 332(c)(7) of the TCA imposes a number of procedural and substantive

limitations on local zoning decisions to ensure that local governments do not frustrate the TCA’s




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goals of promoting competition, higher quality services and the rapid deployment of new

telecommunications technologies.

       37.     Section 332(c)(7)(B)(i) states:

               “The regulation of the placement, construction, and modification of
               personal wireless service facilities by any State or local government
               or instrumentality thereof –

               (I)    shall not unreasonably discriminate among providers of
               functionally equivalent services; and

               (II)   shall not prohibit or have the effect of prohibiting the
               provision of personal wireless services.”

       38.     An effective prohibition of personal wireless services occurs when an applicant is

prevented from deploying a personal wireless service facility even though it demonstrates that a

significant gap in service exists, and the proposed facility represents the least intrusive means to

close such service gap.

       39.     Section 332(c)(7)(B)(ii) states:

               “A State of local government or instrumentality thereof shall act on
               any request to place, construct, or modify personal wireless service
               facilities within a reasonable period of time after the request is duly
               filed with such government or instrumentality, taking into account
               the nature and scope of such request.”

       40.     Section 332(c)(B)(iii) states:

               “Any decision by a State or local government or instrumentality to
               deny a request to place, construct, or modify personal wireless
               service facilities shall be in writing and supported by substantial
               evidence contained in the written record.”

       41.     Section 332(c)(7)(B)(iv) states:

               “No State or local government or instrumentality thereof may
               regulate the placement, construction, and modification of personal
               wireless service facilities on the basis of the environmental effects




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               of radio frequency emissions to the extent that such facilities comply
               with the Commission’s regulations concerning such emissions.”

       42.     Section 332(c)(7)(B)(v) states:

               “Any person adversely affected by any final decision or failure to
               act by a State or local government or any instrumentality thereof that
               is inconsistent with this subparagraph may, within 30 days after such
               action or failure to act, commence an action in any court of
               competent jurisdiction. The court shall hear and decide such action
               on an expedited basis….”

(Emphasis provided).

       43.     As the federal administrative agency charged with implementing the TCA, the FCC

has the authority to interpret the statute’s provisions and to clarify any ambiguities in the statutory

language: “ambiguities in statutes within an agency’s jurisdiction to administer are delegations of

authority to the agency to fill the statutory gap in a reasonable fashion.” NCTA v. Brand X Internet

Servs., 545 U.S. 967, 980 (2005).

       44.     The FCC is an independent agency of the United States government which

maintains exclusive jurisdiction over, inter alia, the field of radio frequency use.

       45.     Pursuant to this authority, on November 18, 2009, the FCC adopted the 2009 FCC

Order. The 2009 FCC Order was specifically issued to establish what constitutes a “reasonable

period of time” under the TCA for a municipality to act on an application for a wireless

communications facility or site.

       46.     Having concluded that wireless service providers often face lengthy and

unreasonable delays in the processing of their siting applications, and that “the persistence of such

delays is impeding the deployment of advanced and emergency services,” 2009 FCC Order at ¶

32, the FCC clarified the need for federal limitations on the ability of local governments to delay




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decisions like the one at issue. In so doing, the FCC sought to promote the deployment of

broadband and other critical wireless services. The 2009 FCC Order held:

               “[I]t is in the public interest to define the time period after which an
               aggrieved party can seek judicial redress for a State or local
               government’s inaction on a personal wireless facility siting
               application. Specifically, we find that ‘a reasonable period of time’
               is presumptively, 90 days to process personal wireless service
               facility siting applications requesting collocations, and, also
               presumptively, 150 days to process all other applications.”

2009 FCC Order at ¶ 32.

       47.     The FCC noted that the purpose of this “shot clock deadline” was to give State or

local governments or instrumentalities thereof, “a strong incentive to resolve each application

within the timeframe defined as reasonable, or they will risk issuance of an injunction granting the

application. In addition, specific timeframes for State and local government deliberations will

allow wireless providers to better plan and allocate resources. This is especially important as

providers plan to deploy their new broadband networks.” Id. at p. 14,000, ¶38.

       48.     The 2009 FCC Order further declares that, when a State and local government does

not act within the 90-day Shot Clock Period, then “a failure to act occurs within Section

332(c)(7)(B)(v)” of the TCA and wireless service providers may seek judicial redress within 30

days thereafter. 2009 FCC Order at ¶¶ 32, 37.

       49.     The 2009 FCC Order codified that:

               “Timely action required. A siting authority that fails to act on a siting
               application on or before the shot clock date for the application, as
               defined in paragraph (e) of this section, is presumed not to have
               acted within a reasonable period of time.”

47 C.F.R. § 1.6003(a).




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       50.     The 2009 FCC Order defined “collocation” to include applications that do not

involve a “substantial increase in the size of a tower” as such is defined in the National

Programmatic Agreement for Collocation of Wireless Antennas. 2009 FCC Order, ¶46.

       51.     The Second Amendment to the Nationwide Programmatic Agreement for the

Collocation of Wireless Antennas, effective August 20, 2020, published at 85 F.R. 51357,

amended the definition of collocation to mean:

               “the mounting or installation of an antenna on an existing tower,
               building or structure for the purpose of transmitting and/or receiving
               radio frequency signals for communications purposes, whether or
               not there is an existing antenna on the structure.”

       52.     The facility proposed in the Application constitutes a “collocation” as that term is

currently defined by the FCC. Therefore, the ninety (90) day shot clock period applies to the

Application.

       53.     The presumptively “reasonable period of time” runs from when an application is

first submitted or proffered to the municipality. 47 C.F.R. § 1.6003(e).

       54.     Under the FCC’s Rules and Regulations, a determination of incompleteness of a

siting application tolls the shot clock only if the State or local government or instrumentality

thereof provides notice to the applicant in writing within 30 days of the submission of the

application, specifically identifying all missing information, and specifying any code provision,

ordinance, application instruction, or otherwise publicly-stated procedures that require the

information to be submitted. 47 C.F.R § 1.6003(d)(1).

       55.     The “reasonable period of time” within which a local municipality must act under

Section 332(c)(7)(B)(ii) of the TCA applies to “all authorizations necessary for the deployment of

personal wireless infrastructure” including building permits. 2018 FCC Order @ ¶ 129; Upstate

Cellular Network v. Auburn, 257 F.Supp.3d 376 (N.D.N.Y. 2017).

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       56.     The Application here (defined below) was submitted on August 20, 2020. During

Defendant Planning Board’s review, Verizon Wireless consented to no less than four (4)

extensions, or tolls, of the applicable 90-day Shot Clock Period, extending the date for a

determination by the City from November 18, 2020 until June 8, 2021. The City, therefore, had

the Application pending before it for approximately ten (10) months, or nearly 300 days. As of

June 8, 2021, the date the Shot Clock Period expired, the Application had not been acted upon by

the City.

       57.     Pursuant to 47 U.S.C. § 332(c)(7)(B)(v), the 2009 FCC Order, the 2014 FCC Order,

and the 2018 FCC Order, the presumption that Defendants have unreasonably delayed action on

the Application adheres and Defendants have thus “failed to act” on the Application within the

meaning of the TCA’s shot clock provisions.

       58.     As of the date of this Complaint, Defendant City continues to be in violation of the

Shot Clock Period for, among other things, failure to issue a building permit for the Facility.

       59.     Defendants’ “failure to act” here was knowing and intentional and in clear violation

of the TCA and Federal law.

       60.     This action is ripe for determination under the TCA, the 2009 FCC Order, the 2014

FCC Order, and the 2018 FCC Order and is timely filed within 30 days of Defendants’ failure to

act, as required by the TCA, the 2009 FCC Order, the 2014 FCC Order, and the 2018 FCC Order.




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                       D. State and Local Government Zoning Requirements

                   (i) Verizon Wireless is a Public Utility for Purposes of Zoning

        61.       Because of the essential nature of its services, Verizon Wireless has long been

considered a public utility for purposes of zoning under New York decisional law.

        62.       As a public utility, Verizon Wireless is entitled to a have its land use application

reviewed under the deferential public utility variance standard applicable to all public utilities.

Under that standard, to obtain the zoning approvals Verizon Wireless need only show (1) need for

wireless service (i.e., a gap in coverage or capacity deficiency); (2) that the proposed location

remedies the need; and (3) that the proposed location is more feasible than alternatives. Cellular

Tel. Co. v. Rosenberg, 82 N.Y.2d 364, 372 (1993) (citation omitted).

              (ii) The City Code Requires Verizon Wireless to Collocate at the Property

        63.       Applications for personal wireless service facilities in the City of Hudson, New

York are purportedly regulated under Chapter 284of the City Code.

        64.       In enacting Chapter 284 of the City Code, the City of Hudson Board of Trustees

recognized the importance of requiring collocation of personal wireless service facilities on

existing towers and structures such as tall buildings. City Code, §284-5(D).

        65.       The City Code includes a hierarchy of preferred siting locations for such facilities.

The two (2) highest siting priorities listed in §284-9(A) of the City Code are:

                  “(1) On existing towers or other structures on City-owned
                  properties;
                  (2) On existing towers or other structures on other property in the
                  City.”

        66.       It is not disputed that the Property falls within §284-9(A)(2) and represents the

highest available priority location due to the fact that no properties in the top priority were available

or appropriate.

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       67.     Applicants for personal wireless service facilities may not bypass sites of high

priority in favor of a lower priority site unless the applicant can be demonstrated that use of a

higher priority would create a hardship on the applicant.

       68.     Even though Applicants clearly demonstrated that the Application was fully

compliant with the siting hierarchy set forth in section 284-9 of the City Code, Defendant Planning

Board spent an excessive amount of time and effort examining sites of lower priority (sites that

would require to construction of new towers compared to the proposed collocation and sites that

could not be approved under the existing siting hierarchy) to attempt to placate a small group of

neighbors who oppose the Facility mainly due to the unsubstantiated belief that the Facility will

result in adverse health impacts.

       69.     Although the City Code contains requirements for public hearings for certain

personal wireless service facilities, section 284-17(B) provides that “[t]here shall be no public

hearing required for an application to collocate on an existing tower or other structure…as long as

there is no proposed increase in height of the tower or structure, including attachments thereto.”

(Emphasis provided).

       70.     The original plans in the Application conclusively established that no portion of the

Facility was proposed to increase the maximum height of the existing building and, therefore, a

public hearing on the Application was not required under the City Code. Nevertheless, Defendant

Planning Board ignored the requirements of section 284-17(B) and held an extensive public

hearing on the Application that took place on no less than eight (8) separate dates between October

2020 and June 2021.

       71.     Instead of moving expeditiously towards a final determination on the Application

and following the requirements of Chapter 284 of the City Code, Defendants have unlawfully



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delayed and prohibited service, and in doing so have ignored Federal, State and Local laws, rules

and regulations. By, inter alia, refusing to render a decision on the Application within the

established Shot Clock Period.

             (iii) The New York General City Law Prohibits Unreasonable Special Use Permit
                                               Conditions

       72.      Local municipal planning boards are creations of the State of New York and their

powers are limited to the specific enabling legislation that establishes the existence of such boards.

       73.      New York State General City Law (“GCL”) empowers the legislative body of a

city to authorize a planning board to grant special use permits.

       74.      Defendant Planning Board is the quasi-judicial municipal board which has been

granted jurisdiction to approve special use permits for wireless communications facilities. City

Code, §284-8(A).

       75.      GCL section 27-b(4) authorizes municipal boards with jurisdiction to grant special

use permits the authority to impose reasonable conditions and restrictions on such permits as long

as the conditions are directly related and incidental to the proposed special use permit and the

specific use proposed.

       76.      The June 23, 2021 Resolution (“Resolution”) adopted by Defendant Planning

Board includes certain conditions that are neither reasonable nor directly related to the proposed

use and are clearly related to unsubstantiated perceived health concerns that were discussed at

length by members of Defendant Planning Board and the public during the extensive public

hearing process, despite Federal law which renders such consideration unlawful. A true and

complete copy of Defendant Planning Board’s June 23, 2021 Resolution is annexed hereto as

Exhibit 1.




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       77.      One such condition purports to require Verizon Wireless’s landlord to record a deed

restriction against the Property, promising never to permit a second, or even expanded, personal

wireless service facility on the same structure for a minimum of twenty (20) years. The landlord

refuses to so burden the Property.

       78.      The Resolution includes other conditions that unlawfully: (i) attempt to regulate a

field that is clearly pre-empted by the FCC (i.e. use of existing airways for wireless

communications), and (ii) require additional information that is expressly inconsistent with the

City Code.

          VI.     HISTORY OF APPLICATION TO CONSTRUCT A WIRELESS
                          COMMUNICATIONS FACILITY

                      A. Verizon Wireless’ Special Use Permit Application

       79.      Verizon Wireless submitted its Special Use Permit and Site Plan Review

application (“Application”) to the City on August 20, 2020, via electronic mail to Craig Haigh,

City of Hudson Code Enforcement Officer, ten (10) copies of which were subsequently delivered

to the City on September 1, 2020. A true and correct copy of the Application is annexed hereto as

Exhibit 2.

       80.      The Application sought authorization to place and construct a personal wireless

service facility on the roof of the existing building located at 119 Columbia Street, City of Hudson,

County of Greene, State of New York (“Property”).

       81.      The proposed personal wireless service facility described in the Application

includes the installation and operation of six communications antennae (two antennae per sector),

a non-penetrating roof mounted equipment platform approximately 9.4’ by 11’ in size and related

communications equipment, utilities and appurtenances (collectively, the “Personal Wireless




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Service Facility” or “Facility”). The Application is considered a collocation as defined by the City

Code and the FCC.

       82.      Because the Personal Wireless Service Facility involves a collocation on an existing

building, it is subject to the ninety (90) day Shot Clock Period. 47 C.F.R. §1.6003I(1)(ii).

Paragraph 136 of the 2018 FCC Order confirms that for purposes of the Section 332 shot clocks,

any attachment to existing structures is deemed a collocation to which the ninety (90) day shot

clock applies, regardless of whether the property has previously been used for wireless purposes.

       83.      In support of the Application, and in accord with all applicable local laws, Verizon

Wireless initially submitted the following documents to the City:

             a. Completed Special Exception and Site Plan Review Application form;

             b. Summary of applicable legal standards under the TCA;

             c. Engineered zoning drawings;

             d. Full Environmental Assessment Form pursuant to the New York State

                Environmental Quality Review Act (“SEQRA”);

             e. Radio Frequency Justification, including network propagation maps and related

                statements;

             f. Pre-EME Report;

             g. Passing Structural Analysis;

             h. Visual Analysis;

             i. Results of FAA Analysis; and

             j. Check in the amount of $8,500 to cover the escrow deposit.




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       84.     Additional materials in support of the Application were submitted subsequently

during the Planning Board’s review, which documents will be submitted by Defendants as part of

the official record of proceedings.

                                       B. FCC Shot Clock

       85.     Recognizing that the original ninety (90) day Shot Clock Period would expire on

November 18, 2020, and that the Planning Board would not be in a position to render a decision

on the Application prior to the expiration of the shot clock, Verizon Wireless agreed, as a gesture

of good will, to enter into a tolling agreement with Defendants. By letter dated October 28, 2020,

countersigned by the Planning Board Chair on November 9, 2020, the Shot Clock Period was

mutually tolled for an additional eighty-one (81) days (almost double the original ninety (90)

applicable Shot Clock Period) through and including February 9, 2021. A true and correct copy of

the October 28, 2020, tolling letter is annexed hereto as Exhibit 3.

       86.     Subsequent to the initial shot clock tolling agreement and between January 2021

and May 2021, Verizon Wireless was asked to enter into three (3) additional shot clock tolling

agreements. Even though Verizon Wireless did not believe that the requested tolling agreements

were reasonable or necessary, as a continued show of good will, Verizon Wireless agreed to extend

the Shot Clock Period as requested pursuant to agreements dated: (i) January 29, 2021; (ii) March

23, 2021; and (iii) May 11, 2021. A true and correct copy of the second, January 29, 2021, tolling

letter is annexed hereto as Exhibit 4. A true and correct copy of the third, March 23, 2021, tolling

letter is annexed hereto as Exhibit 5. The agreement to toll the Shot Clock Period through and

including June 8, 2021 was made verbally at Defendant Planning Board’s May 11, 2021 meeting.




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       87.     During its June 8, 2021 meeting, the Planning Board continued to refuse to render

a decision on the Application and requested a further extension of the Shot Clock Period for an

additional thirty (30) days.

       88.     Verizon Wireless explained that due to the number of prior extensions of the Shot

Clock Period, Verizon Wireless needed to consult its legal department at its headquarters before it

could agree to a fifth extension.

       89.     By electronic mail dated June 14, 2021, Verizon Wireless’ attorney advised the

attorney for the Planning Board that Verizon Wireless would not consent to a fifth extension of

the Shot Clock Period. A true and correct copy of this June 14, 2021, correspondence is annexed

hereto as Exhibit 6.

       90.     During the approximately 300 days of Defendant Planning Board’s consideration

of the Application (more than three times the presumptive reasonable time for such consideration),

it conducted no less than eight (8) public hearings, none of which were authorized by the Hudson

City Code.

           C. Defendant Planning Board Found that the Facility Serves a Public Need by
        Addressing a Significant Gap in Wireless Service and is the Least Intrusive Alternative

       91.     The Application and supplemental supporting materials conclusively demonstrate

that Verizon Wireless currently has significant gaps in service in the City of Hudson and is

experiencing substantial network capacity issues.

       92.     Defendant Planning Board’s wireless consultant performed a comprehensive and

independent review of all technical Application materials and concluded that the proposed Facility

is necessary to remedy the identified gaps in service and capacity issues. A true and correct copy

of the document entitled “Verizon Technical Memorandum” and dated June 16, 2021 is annexed

hereto as Exhibit 7.

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        93.     In its June 23, 2021 Resolution, Defendant Planning Board made the following

findings in support of the Application and special use permit for the facility:

                “1. The applicant has demonstrated that there is a signal capacity and
                    coverage issue within the City of Hudson and that the Project will
                    remedy the gap.
                 2. The Project has been sited on the highest available priority location as
                    set forth in Section 284-9 of the City Code and is consistent with the
                    City’s zoning regulations. A publicly owned structure, which has a
                    higher priority under the City Code, it not available for lease as the
                    structure is proposed for demolition.
                 3. The Planning Board has reviewed alternate sites and has determined that
                    the proposed Project site is the best available location. The alternate
                    sites would provide inferior service and leave service gaps, particularly
                    for the high band 2100 MHz frequency, when compared to the proposed
                    Project site.
                 4 The Project incorporates stealth technology to minimize adverse
                     aesthetic and visual impacts on the land, property, buildings and other
                     facilities adjacent to, surrounding, and in generally the same area as the
                     proposed Project site.
                 5 The Project site is the most appropriate site as regards to being the least
                     visually intrusive among those available in the City. The Planning
                     Board acknowledges that the Project may be visible from a number of
                     surrounding properties, but finds that visibility in and of itself is not a
                     significant adverse impact. The Project has incorporated stealthing so
                     that the proposed antennas and equipment will be located behind a
                     fiberglass structures painted or treated to look like an extension of the
                     brick building.”
                                 D. Defendants’ Required Escrow

        94.     Section 284-16(B) of the City Code purports to require an applicant to submit an

initial escrow deposit to the Defendant City to be used to reimburse costs incurred by consultants

retained by Defendant Planning Board to assist with the review of an application for a personal

wireless service facility.

        95.     On or about August 24, 2020, Defendant Planning Board Chair Betsy Gramkow

sent an email to Verizon Wireless’ counsel requesting submission of $10,000.00 (which

surprisingly exceeded the $8,500.00 amount set forth in section 284-16(B) of the City Code) to be

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held in escrow pursuant to section 284-16(B) of the City Code. A true and correct copy of Chair

Gramkow’s August 24, 2020 E-Mail is annexed hereto as Exhibit 8.

       96.     By letter dated August 31, 2020, counsel for Verizon Wireless submitted the

$8,500.00 escrow payment while reserving the right to seek reimbursement from the City of any

amounts deemed not reasonable or specifically authorized by law. A true and correct copy of

Verizon Wireless’ August 31, 2020 letter is annexed hereto as Exhibit 9.

       97.     By email dated May 14, 2021, the Defendant Planning Board’s attorney made a

demand on Verizon Wireless to submit an additional $40,000.00 in escrow to cover the existing

and future costs of Defendant Planning Board’s retained consultants, which amount is in addition

to the previously provided $8,500.00 escrow. A true and correct copy of Defendant Planning Board

Attorney Victoria Polidoro’s email is annexed hereto as Exhibit 10.

       98.     On June 3, 2021, Verizon Wireless submitted the amount demanded by the

Planning Board subject to a reservation of its rights to challenge the escrow at a future date. A true

and correct copy of Verizon Wireless Counsel’s June 3, 2021 letter is annexed hereto as Exhibit

11. Planning Board representatives stated that failure to pay the demand would effectively

terminate the review of the Application.

       99.     Defendant Planning Board’s demand of $40,000.00 was not accompanied by any

documentation in support of the need for such payment, such as cost estimates for anticipated

continued work or an accounting of the escrow account.

       100.    At no point during the review of Application did Defendant Planning Board ever

provide Verizon Wireless with cost estimates or scopes of service for the review of the Application

by each consultant. Upon information and belief, no such cost estimates or scopes of service have




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ever been prepared for the Application which serve to justify the amount purportedly required for

the initial escrow deposit.

       101.    Upon information and belief, the amount of required escrow contained in Section

284-16 of the City Code was not based on any reliable factual studies and statistics.

       102.    The amount of escrow required by Defendant Planning Board to review the

Application was also not based on any reliable statistics or studies to justify the anticipated costs

of reviewing the Application. Instead, Defendant Planning Board, upon information and belief,

simply expected Verizon Wireless to pay all costs billed by Defendant Planning Board’s

consultants.

       103.    Defendants failed to utilize an independent administrative review or accounting to

review whether the invoices submitted by the Defendant Planning Board’s consultants were

reasonably necessary.

       104.    For comparison, annexed hereto as Exhibit 12 is a Stipulation and Order signed by

Honorable David N. Hurd, U.S. District Court Judge in the Matter of Upstate Cellular Network

d/b/a Verizon Wireless v. Town of Brutus, New York, et al., in which it was “So Ordered” that the

required escrow fee in connection with a collocation proposed by Verizon Wireless in the Town

of Brutus shall be $2,000.00, which is in stark contrast to the $48,500.00 escrow required for the

Application.

       105.    Defendant City will likely require additional escrow in connection with the

satisfaction of the conditions contained in the Resolution and additional review associated with

the building permit application. This will further increase the already excessive escrow demanded

by Defendants.




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       106.    The excessive escrow demanded resulted, in part, due to Defendant Planning

Board’s failure to comply with the unambiguous requirements of Chapter 284 of the City Code, in

particular, the provision that provides that a public hearing for the Application “shall not be

required.”

       107.    The: (i) review conducted, and (ii) amount of escrow demanded to date, by

Defendant Planning Board in the amount of $48,500.00 is excessive and not reasonably necessary

given the nature of the Application, which complies with the City Code’s requirement to collocate

on existing towers or structures and which proposes a Facility on Property deemed to be the highest

available priority under the City Code. The fact that the Defendant Planning Board elected to hold

a public hearing spanning a total of eight (8) separate dates and require its attorney and wireless

consultant to attend each such hearing dates despite the fact that the City Code expressly states

that public hearings for projects such as the Facility are not required, is proof that the expenses

incurred by Defendant Planning Board’s consultants were not reasonably necessary for the

Application. Such expenses are, therefore, excessive, arbitrary and capricious and unlawful.

                 VII. STATUS OF APPLICATION FOR SPECIAL USE PERMIT

                  A. Defendant Planning Board’s June 23, 2021 Resolution

       108.    On June 14, 2021, Verizon Wireless informed the Planning Board and its counsel

that Verizon Wireless would not consent to any further tolling of the 90-day Shot Clock Period.

       109.    On June 22, 2021, the Planning Board met during a special meeting to continue its

review of the Application. The meeting was adjourned without a determination by the Planning

Board as to the Application.

       110.    On June 23, 2021, the Planning Board met again during a special meeting to

consider the Application, at which the Planning Board, by a vote of five to two (5-2), adopted its



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Resolution in which the Defendant Planning Board issued a Negative Declaration pursuant to the

New York State Environmental Quality Review Act (“SEQRA”) and granted the Special Use

Permit for the Application subject to various conditions, several of which have no reasonable nexus

to the Application and/or violate the City Code.

                  B. Resolution Conditions are Unenforceable and Unlawful

                                  (i) Deed Restriction Condition

       111.    Condition number 2 in the second “Be it Further Resolved” section of the

Resolution requires “approval by the Planning Board Attorney of a deed restriction for the

Property, committing to not letting other wireless providers locate on the 119 Columbia Street

Property for a period of twenty years from the date of approval” (“Deed Restriction Condition”).

       112.    Prior to the Planning Board’s June 23, 2021 meeting, Verizon Wireless informed

Defendant Planning Board via email that the Property owner, although willing to agree to not allow

additional carriers on the roof of the existing building, would not execute a deed restriction because

doing so would unreasonably encumber title to the Property. The email also outlined a list of

objections to the Deed Restriction Condition.

       113.    During its June 23, 2021 special meeting and in defense of the Deed Restriction

Condition, certain members of Defendant Planning Board indicated that the Planning Board was

always concerned with potential visual impacts of the Application. The Planning Board, however,

failed to provide any rationale as to how the Deed Restriction Condition would mitigate potential

visual effects of the Application.     When Verizon Wireless requested to discuss this issue,

Defendant Planning Board refused to allow Verizon Wireless to express its concerns.

Significantly, Defendant Planning Board did not discuss publicly any of the concerns raised in

Verizon Wireless’ June 23, 2021 email.



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       114.      The City’s inclusion of this condition in the Resolution represents an effective

denial of the Application and an effective prohibition of service in violation of the TCA. Verizon

Wireless cannot obtain a building permit without having the “deed restriction” signed by the

Property owner in a form approved by the Planning Board’s attorney. Knowing that the Property

owner would not execute a deed restriction, the Planning Board’s incorporation of such condition

in its Resolution served to effectively sabotage the Application by undermining the special use

permit and effectively prohibiting Verizon Wireless from providing service to this area of the City

in violation of Section 332©(7)(B)(i)(II) of the TCA since Verizon Wireless has conclusively

demonstrated that alternative locations are not available.

       115.      The Deed Restriction Condition was imposed, in large part, in response to

unsubstantiated fears of health concerns discussed at length by members of the Planning Board

and public during the lengthy public hearing process in violation of Section 332©(7)(B)(iv).

       116.      There is no reasonable nexus between the Deed Restriction Condition and the

proposed use described in the Application. As demonstrated by the Defendant Planning Board’s

Resolution, all potential adverse impacts associated with the Application have been mitigated to

the maximum extent practicable. The required deed restriction is not intended to mitigate any

impacts associated with this Application, nor does the Resolution provide a rationale for why the

deed restriction is allegedly warranted. By its terms, the Deed Restriction Condition applies to

prospective future applications of other licensed carriers, not Verizon Wireless or its Application.

Having no reasonable nexus to the Application, the Deed Restriction Condition is unlawful and

unenforceable.




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        117.    The Deed Restriction Condition is not legally sufficient to prevent the Defendant

Planning Board from refusing to consider or denying a subsequent application for a new personal

wireless service facility.

        118.    The photographic simulations prepared for the stealth concealment alternative

included in Exhibit 13 clearly demonstrate that the proposed Facility would not result in

significant adverse visual impacts. The Deed Restriction Condition is, therefore, not necessary to

mitigate any potential impact of the Application especially considering that such condition by its

very terms has absolutely nothing to do with Verizon Wireless’ Application and everything to do

with a potential future application that may or may not ever be submitted.

        119.    The Deed Restriction Condition was never discussed during the extensive public

hearing process. The first time it came up was at the June 23, 2021 special Planning Board meeting.

        120.    The Deed Restriction Condition also violates various provisions of the City of

Hudson Code, including those sections of the Code that require applicants to collocate antennas

on existing buildings or structures rather than construct new structures. This deed restriction would

also have the effect of eliminating the Property and the building located thereon (which is

considered a preferred siting location per section 284-9 of the Hudson City Code) from the

possibility of future collocations, thereby potentially requiring a future new tower by another

carrier instead of preferred collocation.

        121.    The Deed Restriction Condition is an ultra vires act by Defendant Planning Board

that if given effect would serve to modify certain provisions of Chapter 284 of the City Code

related to existing siting priorities and the City’s preference for collocation. Defendant Planning

Board does not possess such quasi-legislative jurisdiction and its attempt to impose the Deed

Restriction Condition is a blatant overreach of its authority. By purporting to prohibit any



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additional or expanded wireless telecommunications facilities at the Property, other than Verizon

Wireless’, the City has deprived the Landlord of the potential value of these additional wireless

facilities resulting in an unconstitutional taking without just compensation in violation of the Fifth

Amendment of the United States Constitution.

       122.    The Deed Restriction Condition directly contradicts section 6409 of the Middle-

Class Job Creation and Tax Relief Act of 2012 (the, “Spectrum Act”). One of the primary purposes

of the Spectrum Act is to promote and encourage the deployment of personal wireless service

facilities by requiring states and local municipalities to promptly review and approve collocation

applications that meet the requirements set forth therein. Defendant Planning Board lacks the

authority and jurisdiction to act in a manner that violates the Spectrum Act.

       123.    The Deed Restriction Condition has no direct relationship to the Application and

is, therefore, unlawful, arbitrary and capricious, and unenforceable.

    (ii) Defendant Planning Board’s Regulation of Frequencies is Preempted by the FCC

       124.    Defendant Planning Board’s Resolution includes a condition that prohibits Verizon

Wireless from using certain frequencies licensed by the FCC.

       125.    Defendant Planning Board’s purported attempt to regulate the radio frequencies

which Verizon Wireless may use at the Property was based solely on perceived health concerns

raised by certain members of the public and is a clear violation of section 332©(7)(B)(iv) of the

TCA. No other legitimate rationale exists for such condition.

       126.    Although the Resolution does not specifically mention perceived health concerns,

a substantial portion of the public hearing was dominated by discussions among certain neighbors

and Planning Board members concerning this issue. For example, as recently as June 23, 2021, the




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date Defendant Planning Board adopted the Resolution, certain members of the Planning Board

made statements that they believe that the proposed Facility will result in adverse health impacts.

       127.    Regulation of wireless commercial service, including radio frequencies used for

such service, is the sole jurisdiction of the FCC.

       128.    State and local municipalities, while retaining the right to regulate the placement,

construction and modification of personal wireless service facilities do not have the jurisdiction to

regulate the use of specific wireless services frequencies.

       129.    Defendant Planning Board’s unlawful attempt to regulate or limit the specific

frequencies utilized by Verizon Wireless violates the Supremacy Clause of the United States

Constitution by unlawfully interfering with the established goals of the Federal government related

to the deployment of next generation wireless service and infrastructure and attempting to regulate

the use of radio frequencies which is under the exclusive jurisdiction of the FCC.

                               (iii) Insurance Certificate Condition

       130.    Defendant Planning Board’s Resolution includes a condition that expressly requires

Verizon Wireless to provide a certificate of insurance naming the City as an additional insured

“meeting the requirements of Section 284-23 of the City Code….”

       131.    Section 284-23(B) of the City Code requires an applicant to furnish the City with

an insurance certificate only if the property in question is City-owned property. This section

specifically provides:

               “[F]or a wireless telecommunications facility on City property, the
               Commercial genera liability insurance policy shall specifically
               include the City and its Officers, council, employees, committee
               members, attorneys, agents and consultants as additional insureds.”




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       132.    Because the Property is not City owned, Defendant Planning Board’s condition to

require an insurance certificate is an express violation of the City Code and is unlawful, arbitrary

and capricious, and unenforceable.

                  VIII.    IRREPARABLE INJURY, PUBLIC INTEREST,
                             AND BALANCE OF HARDSHIPS

       133.    As a result of the Defendants’ actions, Verizon Wireless has been, and will continue

to be, damaged and irreparably harmed absent the relief requested.

       134.    The harm caused by Defendants’ unlawful actions includes, but is not limited to,

an effective prohibition on the Verizon Wireless’ ability to provide personal wireless service in

the Gap Area of the City, and impairment of Verizon Wireless’: (a) ability to provide the public in

the City with adequate and reliable service; (b) ability to compete with other providers of

telecommunication services; (c) full use of its existing licenses and business investments; and (d)

good will and business reputation.

       135.    The harm that Verizon Wireless has suffered and is suffering from the Defendants’

actions is not reasonably susceptible to accurate calculation and cannot be fully and adequately

addressed through an award of damages.

       136.    Moreover, the public interest in promoting competition in the telecommunications

arena and the prompt deployment of services—the express goals of the TCA — has been

irreparably harmed and will continue to be irreparably harmed by Defendants’ unlawful actions.

Verizon Wireless’s present and future customers, the public at large and emergency service

providers are significantly prejudiced by the Defendants’ unlawful conduct.

       137.    In addition, wireless telecommunications are an important component of public

safety and emergency response systems and provide a vital alternative to traditional land lines

during times of public crisis. By delaying and preventing Verizon Wireless from installing

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equipment needed to provide adequate service, the Defendants’ unlawful actions are causing

irreparable harm to the public interest in deprivation of reliable emergency communications.

        138.   Verizon Wireless’ original Application for approval of the Facility to remedy

service in the Gap Area and capacity issues was pending since August 20, 2020, a period of

approximately ten (10) months. The continued delay in providing all necessary authorizations to

install the Facility is causing irreparable harm to Verizon Wireless and the public interest. This

lengthy delay violates the TCA.

        139.   In contrast to the immediate and irreparable injury being suffered by Verizon

Wireless, its customers, and the public interest, the Defendants will not suffer any significant injury

if the Court issues the requested injunction. Verizon Wireless has met all of the requirements for

the land use approvals it seeks under controlling State and Federal law, including the applicable

public utility variance standard.

               IX. ALLEGATIONS SUPPORTING DECLARATORY RELIEF

        140.   At present, an actual controversy has arisen and now exists between the parties

regarding their respective legal rights and duties. Verizon Wireless contends that the Defendants’

actions are in violation of the TCA and New York State law, and that Verizon Wireless is entitled

to all of the approvals necessary to proceed with the Facility.

        141.   Verizon Wireless—and the public—have been and will continue to be adversely

affected by the Defendants’ unlawful acts and any further delay in approval and construction of

the project.

        142.   Accordingly, declaratory relief is appropriate and necessary to adjudicate the extent

of Verizon Wireless’ rights and Defendants’ duties and authority.




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                                             COUNT I

    UNLAWFUL PROHIBITION ON THE PROVISION OF PERSONAL WIRELESS
       SERVICES IN VIOLATION OF THE TCA, 47 U.S.C. §332(c)(7)(B)(i)(II)

        143.    Plaintiff repeats and realleges each and every allegation above with the same force

and effect as if set forth in full herein.

        144.    The TCA provides, in relevant part, that “[t]he regulation of the placement,

construction, and modification of personal wireless service facilities by any State or local

government or instrumentality thereof…shall not prohibit or have the effect of prohibiting the

provision of personal wireless services.” 47 U.S.C. §332(c)(7)(B)(i)(II).

        145.    The Facility is a “personal wireless service facilit[y]” providing “personal wireless

services” within the meaning of the TCA.

        146.    A prohibition on the provision of personal wireless services occurs within the

meaning of the TCA when a carrier is denied the right to install a personal wireless service facility

even though it has demonstrated that there is a significant gap in a wireless carrier’s service and

the proposed Facility is the least intrusive means to fill that gap. Gaps in service are just one

indicator of an effective prohibition of service in violation of federal law. See In the Matter of

Accelerating Wireless Broadband Deployment by Removing Barriers to Infrastructure Inv., 33

F.C.C.R 9088, 9104 (2018).

        147.    The record shows that Verizon Wireless has a significant gap in service in the City

of Hudson.

        148.    The record demonstrates that Verizon Wireless’ local network is also experiencing

substantial capacity issues that require a remedy.

        149.    The record further demonstrates that the proposed Facility would be substantially

concealed by RF transparent concealment structures designed to match the existing exterior facade.

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          150.   Incorporation of the substantial design elements into the Facility and the visual

mitigation resulting therefrom (illustrated in Exhibit 13) was conclusively demonstrated via a

professionally prepared Visual Resource Evaluation, including photographic simulations of such

design.

          151.   Verizon Wireless’ Application fulfills all of the criteria and requirements for

approval of the Facility under the City’s Code and New York State law.

          152.   The Defendants’ unsupported and legally unsustainable imposition of unlawful

conditions, including the Deed Restriction Condition – with which compliance cannot be obtained

– has had, and will have, the continued effect of prohibiting Verizon Wireless from providing

wireless services pursuant to its FCC licenses in violation of 47 U.S.C. §332(c)(7)(B)(i)(II).

          153.   Defendants continuing failure to grant “all necessary authorizations” for the

Facility to proceed in violation of 47 U.S.C. §332(c)(7)(B), the 2009 FCC Order, the 2014 FCC

Order, and the 2018 FCC Order has had, and will have a continuing effect of prohibiting Verizon

Wireless from providing wireless services pursuant to its FCC licenses.

          154.   Verizon Wireless has suffered and will continue to suffer irreparable injury as a

result of Defendants’ violation of the TCA.

                                             COUNT II

          VIOLATION OF THE SUPREMACY CLAUSE OF THE UNITED STATES
                               CONSITUTION

             155.       Plaintiff repeats and realleges each and every allegation above with the

same force and effect as if set forth in full herein.

             156.       Under the Supremacy Clause of the United States Constitution, a state or

local municipal law, rule, tariff or action is preempted when Congress intends federal law to




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 occupy the filed into which the state or local municipality intrudes or when such local action

 stands as an obstacle to the accomplishment of Congress’ goals.

            157.        The TCA has carved out limited jurisdiction to state and local municipalities

 to regulate the placement, construction and modification of personal wireless service facilities.

            158.        State and local municipalities lack the jurisdiction to regulate the types of

 frequencies utilized to operate personal wireless service facilities. This jurisdiction lies

 exclusively with the FCC.

            159.        The 2018 FCC Order, inter alia, takes important steps to remove regulatory

 barriers that unlawfully inhibit deployment of 5G next generation infrastructure.

            160.        Defendant Planning Board’s condition purporting to limit the specific

 frequencies permitted to be used by Verizon Wireless unlawfully interferes with the established

 goal of promoting the development of next generation infrastructure and the associated benefits

 of such technology.

            161.        Defendants are preempted from regulating the operating radio frequencies

 of the Verizon Wireless Facility and any and all conditions in the Resolution which attempt to

 regulate such field must be deemed null and void.

            162.        Defendants purported attempt to regulate the specific frequencies Verizon

 Wireless may use is a violation of the Supremacy Act of the United States Constitution.

                                             COUNT III

LACK OF SUBSTANTIAL EVIDENCE TO SUPPORT DECISION IN VIOLATION OF
                      47 U.S.C. §332(c)(7)(B)(iii)

        163.    Plaintiff repeats and realleges each and every allegation above with the same force

and effect as if set forth in full herein.




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        164.    Section 332(c)(7)(B)(iii) of the TCA provides that “[a]ny decision by a State or

local government or instrumentality thereof to deny a request to place, construct, or modify

personal wireless service facilities shall be in writing and supported by substantial evidence

contained in the written record.”

        165.    By incorporating a poison pill condition into its Resolution in the form of the Deed

Restriction Condition, Defendant Planning Board effectively denied the Application.

        166.    The record is devoid of any evidence, substantial or otherwise, to support the need

for the Deed Restriction Condition. There is no nexus between this condition and the Application.

        167.    Defendant Planning Board’s attempt to regulate the frequencies allowed to be used

is a clear violation of the Supremacy Clause of the United States Constitution. The record is devoid

of any evidence to support such a condition.

        168.    Defendant Planning Board violated section 332(c)(7)(B)(iii) of the TCA by

imposing certain conditions that are not supported by any evidence and which serve to effectively

deny the Application.

                                             COUNT IV

UNREASONABLE DELAY AND FAILURE TO ACT ON THE VERIZON WIRELESS
APPLICATION IS A VIOLATION OF 47 U.S.C. §332(c)(7)(B), THE 2009 FCC ORDER,
            THE 2014 FCC ORDER AND THE 2018 FCC ORDER

        169.    Plaintiff repeats and realleges each and every allegation above with the same force

and effect as if set forth in full herein.

        170.    47 U.S.C. § 332(c)(7)(B)(ii) states, “[a] state or local government or instrumentality

thereof shall act on any request for authorization to place, construct, or modify personal wireless

service facilities within a reasonable period of time after the request is duly filed with such

government or instrumentality, taking into account the nature and scope of such request.”



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        171.   The 2009 FCC Order declares that if a local government, such as Defendants here,

do not act upon an application within the shot clock period, “then a ‘failure to act’ has occurred”

and personal wireless service providers, like Verizon Wireless, may seek judicial redress pursuant

to 47 U.S.C. § 332(c)(7)(B)(v). See 2009 FCC Order at ¶ 49; 2014 FCC Order at ¶ 265.

        172.   The Application constitutes a request for the placement of personal wireless

services facility and, as such, Verizon Wireless is entitled to the benefits and protections of the

TCA, the 2009 FCC Order, the 2014 FCC Order, and the 2018 FCC Order with respect to such

Application.

        173.   The Application has been pending for far more than the requisite 90 days, and the

Defendants failed to render a decision on it within the required timeframe.

        174.   Verizon Wireless comprehensively demonstrated that it is entitled to all

authorizations necessary for the deployment of Verizon Wireless’ Personal Wireless Service

Facility.

        175.   Defendant City’s failure to grant all necessary authorizations, including a building

permit, constitute a continuing violation of the TCA and the 2009 FCC Order, the 2014 FCC Order

and the 2018 FCC Order.

        176.   Defendants’ acts and omissions described herein have delayed and prevented

Verizon Wireless from securing the necessary approvals to construct the Facility and fill a

significant gap in service and address capacity deficiencies and such delay will continue until the

City issues a Building Permit for the Personal Wireless Service Facility.

        177.   By its acts and omissions, the Defendants have violated 47 U.S.C. §332(c)(7)(B)(ii)

as authoritatively interpreted by the 2009 FCC Order, 2014 FCC Order and 2018 FCC Order.




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        178.    Defendants’ continued failure to grant all necessary authorizations for the Facility

have and continue to violate effective prohibition provisions of 47 U.C.C. §332(c)(7)(B)(i)(II).

                                             COUNT V

        ARTICLE 78 OF THE NEW YORK CIVIL PRACTICE LAW AND RULES

        179.    Plaintiff repeats and realleges each and every allegation above with the same force

and effect as if set forth in full herein.

        180.    Article 78 of the New York Civil Practice Law and Rules (“CPLR”) provides a

device for challenging the official acts of State and local officials, including the Defendants herein.

        181.    CPLR §7803 provides a right of action against a government body or officer where

a question is raised as to (i) whether officials or a government body “failed to perform a duty

enjoined upon it by law”; (ii) whether it has “proceeded, is proceeding or is about to proceed

without or in excess of jurisdiction”, (iii) whether “a determination was made in violation of lawful

procedure, was affected by an error of law or was arbitrary and capricious or an abuse of

discretion..”; or (iv) whether “a determination made as a result of a hearing held, and at which

evidence was taken, pursuant to direction by law is, on the entire record, supported by substantial

evidence.”

        182.    Defendants’ determination to impose certain conditions to the approval of the

Application was not supported by substantial evidence in the record, was arbitrary and capricious,

was an abuse of discretion, and was affected by an error of law.

        183.    Defendant Planning Board’s Deed Restriction Condition: (i) lacks a reasonable

nexus to the use described in the Application; (ii) is inconsistent with certain provisions of the City

Code regarding siting location and design performances; (ii) represents an unauthorized quasi-

legislative act that serves to attempt to invalidate certain provisions of the City Code which was



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enacted by the City of Hudson Board of Trustees; (iv) would create an unenforceable condition

that could not be used to deny a potential future application for a subsequent colocation; and (v)

serves to frustrate and unlawfully interfere with the Spectrum Act.

        184.    Defendant Planning Board lacks the legal authority and jurisdiction to impose a

condition prohibiting potential “5G” next generation service at the Property. The FCC retains sole

jurisdiction to regulate commercial wireless broadcasts and the Defendant City is pre-empted from

this field.

        185.    Defendant Planning Board’s condition which requires Verizon Wireless to provide

a certificate of insurance expressly contradicted by § 284-23(B) of the City Code.

                                             COUNT VI

  DEFENDANT CITY’S ESCROW REQUIREMENT UNLAWFULL AND EXCESSIVE

        186.    Plaintiff repeats and realleges each and every allegation above with the same force

and effect as if set forth in full herein.

        187.    In response to demands by Defendant Planning Board, Verizon Wireless has paid

$48,500.00 in escrow which is intended to be used to reimburse the consultants retained to assist

the Defendant Planning Board with the review of the Application.

        188.    Defendant Planning Board has failed to provide a proper accounting of the escrow

account for the Application.

        189.    Section 284-16 of the City Code which purports to require an applicant to remit

certain fees to be held in escrow to pay the consultants retained to review the Application

establishes an open-ended and unlimited obligation on behalf of applicants to pay the costs billed

by the consultants uncontrolled by any specific standards in Chapter 284 of the City Code.




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       190.    Upon information and belief, the open-ended fees required by section 284-16 of the

City Code are not reasonably necessary to the accomplishment of any specific regulatory program

and, therefore, the fees are unlawful.

       191.    The fees set forth in section 284-16 of the City Code are not based on factual studies

or statistics as required under New York Law.

       192.    The excessive fees required to date by Defendant City are oppressive and have the

effect of discouraging applicants from seeking relief under the applicable zoning ordinance.

       193.    Based on the foregoing, the fees required by section 284-16 and the Defendant

Planning Board totaling $48,500 are excessive, arbitrary and capricious and unlawful.

       194.    Plaintiffs have suffered injury as a result of Defendants’ actions, and timely

commenced this action.




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      WHEREFORE, Plaintiff Verizon Wireless respectfully request that this Court issue an

Order and Judgment:

      a.     Annulling the Resolution in its entirety;

      b.     Declaring and adjudging that Defendants have unreasonably delayed and failed to

             act on the Application in violation of 47 U.S.C. § 332(c)(7)(B)(ii), the 2009 FCC

             Order, the 2014 FCC Order, and the 2018 FCC Order.

      c.     Declaring that Defendants’ imposition of certain conditions in its Resolution

             prohibits, or has the effect of prohibiting, the provision of wireless service in

             violation of 47 U.S.C. §332(c)(7)(B)(i)(II);

      d.     Declaring that the Defendants are federally preempted from regulating the

             technological and operational standards of wireless carriers and are, therefore,

             preempted from regulating the frequencies permitted to be used, including the

             potential future use of “5G” technology;

      e.     Declaring that Defendants imposition of certain conditions in its Resolution, which

             result in an effective denial of the Application are not supported by substantial

             evidence in violation of 47 U.S.C. S 332(c)(7)(B)(iii);

      f.     Declaring that the Defendants are in violation of Federal and New York State law;

      g.     Declaring that the Defendants’ Resolution and, specifically, certain conditions

             therein, was affected by an error of law, was arbitrary and capricious and an abuse

             of discretion, and was not supported by substantial evidence based on the entire

             record;

      h.     Ordering and directing the Defendants to immediately issue all local approvals and

             permits necessary to allow construction and operation of the Facility, including



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            (without limitation) all building permits, site plan approvals, special use permits,

            and variances without any unlawful or unenforceable conditions;

      i.    Declaring that section 284-16 of the City Code is void and of no effect;

      j.    Ordering and directing the Defendants to return all escrow monies paid to date to

            Verizon Wireless;

      k.    Awarding Verizon Wireless the costs, disbursements, and expenses of this action,

            including reasonable attorneys’ fees; and

      l.    Granting such other and further relief as this Court deems just and proper.



DATED: July 7, 2021

                                  YOUNG / SOMMER, LLC



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